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                         IN THE UNITED STATES DISTRICT COURT
                                   DISTRICT OF UTAH

                                                       CERTIFICATE OF SERVICE FOR
 FREDRICK JERESUN ATKIN, in both is                     OGDEN CITY DEFENDANTS’
 capacity as the personal representative of the       RESPONSE TO PLAINTIFFS’ FIRST
 estate of Fredrick Jeremy Atkin and as a son of          DOCUMENT REQUESTS
 the deceased, JADE LORENE ATKIN, AEL (a
 minor), JOLENE WARDLE and JODY
 ATKIN,

       Plaintiffs,                                   Civil No. 1:20-cv-00102-DBB-DAO
 v.
                                                     Judge David Barlow
 SOUTH OGDEN CITY, OGDEN CITY,
 RIVERDALE CITY, CHRISTOPHER
 FREESTONE, OFFICER DOXSTADER,                       Magistrate Daphne A. Oberg
 OFFICER NIGEL BAILEY, OFFICER
 COLTON HOPPER, OFFICER BENJAMIN
 DICKMAN, and JOHN DOES 1 THROUGH
 10,
     Defendants.

       I certify that on April 29, 2021, I caused a true and correct copy of OGDEN CITY

DEFENDANTS’ RESPONSE TO PLAINTIFFS’ FIRST DOCUMENT REQUESTS to be

delivered via electronic mail, and this CERTIFICATE OF SERVICE to be electronically filed

with the Clerk of the Court, and served electronically through e-filing and/or email to the

following parties:




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       DATED April 29, 2021

                                          _______________________
                                          Caroline Smith
                                          Paralegal




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